Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 1 of

 

Hoffman Employment Law, LLC

600 Jefferson Plaza Suite 204
Rockville, MD 20852
Phone: 301-251-3752 | Fax: 301-251-3753

Account Statement

Prepared for James Cilione
Re: Victoria Crab House FLSA Lawsuit

Previous Balance $0.00
Current Charges $28,343.02
New Balance $28,343.02
Adjustments $0.00
Payments $0.00
Now Due $28,343.02

Trust Account $0.00

 

 
Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 2 of 12

Hoffman Employment Law, LLC

600 Jefferson Plaza Suite 204
Rockville, MD 20852
Phone: 301-251-3752 [| Fax: 301-251-3753

PRE-BILL

James Cilione
Invoice Date: October 23, 2019

Invoice Number: Pre-bill
Invoice Amount: $28,343.02

Matter: Victoria Crab House FLSA Lawsuit
Attorney’s Fees

9/12/2018 Teleconf. with clients regarding employment issues G.H. 60 $123.00
and future litigation.

9/13/2018 Draft letter of representation. Review and revise, H.B.H. 80 No Charge
transmit via email and docusign.

9/17/2018 Tele conf. with Joe Cilione re payroll summaries. H.B.H. 10 $40.00

9/17/2018 Review email! from clients regarding pay stubs and G.H. 10 $20.50
earning statements.

9/25/2018 Call with client regarding demand letter. G.H. 10 $20.50

9/25/2018 Conf. with HBH regarding clients' employment G.H. 30 $61.50
experiences and demand letter.

9/25/2018 Call with clients regarding employment experience G.H. 20 $41.00
and providing a case update,

9/26/2018 Review client file, draft demand letter to Victoria's G.H. 1.30 $266.50
Crab House regarding FLSA claims.

9/26/2018 Review and revise demand fetter. G.H, 40 $82.00

9/28/2018 Teleconf. with HBH and clients regarding demand G.H. 90 $184.50
letter.
Review and revise demand letter based on
conversation with clients.

9/28/2018 Draft email to clients regarding demand letter and G.H. 10 $20.50
provide an update.

9/28/2018 Review and revise demand ltr. (2 hrs). Tele conf. H.B.H. 1.10 $440.00
with Joe Cilione re review of demand; discuss same.
(5 hr). Review judicial and land records re the :
Emersons. Discuss revisions with G. Herbers.
Transmit via certified mail.

 

10/1/2018 Review email from clients regarding receipt for G.H. 10 $20.50

 
Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 3 of 12

10/1/2018
10/1/2018
10/11/2018
11/9/2018
11/9/2018
11/19/2018
12/10/2018

12/12/2018
12/19/2018

12/20/2018
12/26/2018
1/24/2019
2/3/2019
2/5/2019

2/5/2019

2/6/2019

2/7/2019
2/11/2019

2/21/2019
2/21/2019
2/27/2019

2/28/2019
3/7/2019

3/7/2019
3/11/2019

3/21/2019

3/27/2019

payment of a loan.

Review second email from client Joe Cilione
regarding loan repayment receipt.

Review comm. from Joe Cilione re recent for debt
payment; respond thereto.

Conf. with HBH and JSL regarding case status and
assignments.

Review emai! exchange between HBH and clients
regarding demand letter and next steps.

Review and respond to comm. from clients re status
of matter. Review reply from clients.

Draft Complaint.

Draft Complaint.

Review and revise complaint.

Call with Clients James and Joe Cilione regarding
case status and experiences working at Defendants
G1).

Review and revise complaint vis-4-vis conversation
with clients (1).

Review and revise complaint.

Review client file, review and revise complaint.
Review and revise complaint.

Comm with client re status of matter.

Tele conf with clients re status of matter, including
lawsuit allegations.

Call with HBH and clients to give status update and
seek information regarding defendants (.3),
Review and revise complaint (1.4).

Review and revise complaint (.6);

Conf. with HBH regarding revisions to complaint
and factual allegations (.2);

Draft civil cover sheet and prop. summons to
defendants (.4).

Review and revise complaint.

Draft email to clients J. and J. Cilione regarding
complaint.

Review email from clients and revise complaint
pursuant to clients' comments.

Review and revise Complaint. Discuss same with
G. Herbers.

Review and revise Complaint. (.5 hrs). Prepare
materials for filing; file via ECF. (.3 hrs).

Review issued summons.

Review case file, prepare documents for service,
draft memo to Beach Process Server.

Research re process server on Eastern Shore.

Draft memo to second process server and prepare
documents for service on Defendants.

Review email communications between GBH, HBH
and Pl. Cilione re. status of case.

File proofs of service for all Defendants.

G.H.

H.B.H.

G.H.

G.H,

H.B.H.

G.H.
G.H.
G.H.
G.H.

G.H.
G.H.
G.H

H.B.H.
H.B.H.

G.H.

G.H.

G.H.
G.H.

G.H.

H.B.H.

H.B.H.

H.B.H.

G.H.

H.B.H.

GH.

JL.

JL.

10
10
10
10
10
3.20
L.10

2.10
20

60
60
50
10
30

1,70

1.20

50
10

90

.60

.80

10
.60

20
20

AO

20

$20.50
$40.00
$20.50
$20.50
$40.00
$656.00
$225.50

$430.50
$41.00

$123.00
$123.00
$102.50

$40.00
$120.00

$348.50

$246.00

$102.50
$20.50

$184.50
$240.00
$320.00

$40.00
$123.00

No Charge
$41.00

No Charge

No Charge

 

 

 
   

  

ESSE lea ene renee eeceeas
Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 4 of 12

3/27/2019
4/10/2019

4/10/2019
4/10/2019

4/18/2019

4/23/2019

4/23/2019
4/24/2019
4/24/2019

§/2/2019
5/6/2019
3/6/2019
5/6/2019

5/9/2019

5/23/2019
5/23/2019

5/23/2019
5/23/2019
5/23/2019

5/24/2019
§/29/2019
5/29/2019
5/29/2019
5/30/2019
5/30/2019
5/30/2019
5/30/2019

5/31/2019
5/31/2019
5/31/2019
$/31/2019

5/31/2019

Prepare proofs of service for all three defendants.
Review demand letter from HBH to opposing
counsel,

Review case file, calculate overtime and minimum
wage damages for clients J. and J. Cilione.

Review comm from counsel for Defendants; draft
response thereto.

Review file materials: draft demand letter. Review
and revise. (2.1 hrs}. Draft comm to client re same;
review response. (.2 hrs).

Review email communications between HBH and
opposing counsel re. demand letter.

Review and revise letter to Cropper; transmit.
Review Case Status

Status and direction conference w/ HBH and SEK
on case status and assignment of duties.

Draft comm to H. Cropper re status of matter.
Reviewing Case Status

Drafting Application for Clerk's Entry of Default
Confer with associate atty re application for clerk's
entry of default; transmit comm to assoc atty re
same.

Review and revise Application for Clerk's Entry of
Default and proposed Order, (.5 hrs). File same via
ECF. (.1 hrs).

Review entries of default by Court.

Review email from HBH to opposing counsel re.
default.

Conference w/ HBH re: Motion for Default
Research re: Motion for Default

Review Clerk's Entry of Default; forward same and
draft comm to H. Cropper (opposing counsel) re
status.

Drafting Motion for Default

Entering Notice of Appearance

Drafting Motion for Default

Review email from SEK to clients re. affidavits.
Call w/ clients re: Damage Calculations

Damage Calculations

Drafting Motion for Default

Multi confs with Assoc. Atty §. Kraff re Motion for
Default Judgment. Review Default Judgment.
Confer re damage calcs and pleading of same.
Drafting email to clients re: Case Status Update
Drafting Motion for Default

Damage Calculations

Review Defendants’ Motions to Vacate Default and
for Extension of Time

Tele conf with A. Turner re representation of
Defendants and vacating Clerk's Entry of Default.
(.1 hrs) Review filing re same. (.1 hrs).

G.H.
JL.

G.H.
H.B.H.

H.B.H.

JL.

H.B.H.
S.K.
JL.

H.B.H.
S.K,
S.K.

H.B.H.

H.B.H.

JL.
J.L.

S.K.
S.K.
H.B.H.

S.K.
S.K.
S.K.
J.L.
S.K.
S.K.
S.K.
H.B.H.

S.K.
S.K.
S.K.
S.K.

H.B.H.

20
10

1.00
20

2.30

-10

20
10
.10

.10
30
10
30

60

10
10

80
1.60
10

1.90
20
3.40
10
AQ
1.10
1.80
.60

.20
1.70
60
10

20

$41.00
$20.50

$205.00
$80.00

$920.00

$20.50

$80.00
No Charge
No Charge

$40.00

No Charge
No Charge
$120.00

$240.00

$20.50
$20.50

No Charge
No Charge
$40.00

No Charge
No Charge
No Charge
No Charge
$82.00
$225.50
No Charge
No Charge

$41.00
No Charge
No Charge
$20.50

$80.00

 

 

 

 

 
Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 5 of 12

6/2/2019
6/3/2019

6/3/2019

6/3/2019
6/3/2019

6/3/2019
6/13/2019
6/13/2019

6/13/2019
6/13/2019

6/13/2019
6/13/2019
6/13/2019

6/14/2019
6/14/2019
6/14/2019
6/14/2019
6/14/2019
6/14/2019
6/14/2019

6/18/2019

6/18/2019
6/18/2019
6/18/2019
6/19/2019
6/19/2019
6/19/2019
6/20/2019
6/21/2019
6/21/2019
6/26/2019
6/27/2019
6/28/2019

6/28/2019

7/1/2019
T2019
T/L/2019
F/AL2019

Draft comm to assoc attys re lodestar prep.
Review order granting consent motion to vacate
default.

Review order granting motion to extend time to
answer.

Drafting Lodestar Statement

Review Court Orders re: Vacate Default & Ext. of
Time

Review and revise lodestar; transmit to opposing
counsel.

Review emails between HBH, SEK and clients re.
case status and pot. defenses from Defendants.
Review emails between HBH and clients re. offer
letter and facts alleged within.

Comm. with client re: case status

Review multi page letter from counsel re settlement;
review attachments. (.2 hrs). Confer with S. Kraff
re same. (Gratis)

Draft comm to clients re status of matter.

Draft comm to opposing counsel re settlement.
Review comm from client re status of matter; draft
response re status and inquire re restaurant sales.
Review docs provided by clients

Review settlement letter from defendants

Review email from PI. re. responses to offer letter.
Review email from clients re: settlement letter
Review answer.

Review Answer to Complaint

Briefly review Answer; review Corporate Local
Disclosure.

Review email from Pl. Joe Cillione re. offer letter
inaccuracies,

Review letter re: settlement from counsel

Comm. with client re: case update

Outline case to draft discovery

Review email from Pl. Joe Cilione re. calculations.
Comm. with client re: case update

Review Answer to Complaint

Review docs from client re: complaint

Drafting Interrogs

Drafting Amended Complaint

Review comms. from counsel re: settlement

Draft Amended Complaint

Tele conf with A. Turner re status of case, claims of
Plaintiff, and status report to Court.

Review multi comm from opposing counsel re
lawsuit issues; draft responses.

Review comms. from counsel re: 6/13/19 letter
Confer w/ HBH re: time documents and subpoena
Drafting Interrogs from James

Drafting Interrogs from Joe

H.B.H.
JL.

ILL,

S.K.
S.K.

H.B.H.
JL,
JL.

S.K.
H.B.H.

H.B.H.
H.B.H.
H.B.H.

S.K.
S.K.
JL.
S.K.
J.L.
S.K.
H.B.H.

JL.

S.K.
S.K.
S.K.
FL.
S.K.
S.K.
S.K.
S.K.
S.K.
S.K.
S.K.
H.B.H.

H.B.H.

S.K.
S.K.
S.K.
S.K.

10
10

10

AO
20

10
10
10

20
20

10
10
20

60
30
10
.10
10
10
.10

20

50
10
60
10
20
20
90
1.10
1,20
10
1.20
40

30

.70
.70
1.60
1.80

$40.00
$20.50

$20.50

$82.00
$41.00

$40.00
No Charge
No Charge

$41.00
$80.00

$40.00
$40.00
$80.00

$123.00
$61.50
$20.50
$20.50
$20.50
$20.50

No Charge

$41.00

$102.50
$20.50

No Charge
$20.50
$41.00

No Charge
No Charge
No Charge
No Charge
$20.50

No Charge
$160.00

$120.00

$143.50
No Charge
No Charge
No Charge

 

 
Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 6 of 12

T2019 Drafting Amended Complaint S.K. 90 ~=No Charge

7/2/2019 Review multiple emails between HBH and opposing JL. 20 $43.60
counsel re. number of disputed issues.

7/2/2019 Review docs from client S.K. .70 $143.50

Ti2/2019 Draft RPDs S.K. 1.40 No Charge

7/2/2019 Confer w/ HBH re: Joint Status Report S.K. 30 $61.50

7/2/2019 Draft Amended Complaint S.K. .70 No Charge

7/3/2019 Status confer w/ HBH and SEK re. case status. JL, 10 $21.50

7/3/2019 Status confer with associate attorneys re status of H.B.H. 10 $40.00
matter,

7/3/2019 Review comms and docs from client S.K. 30 $61.50

7/3/2019 Confer w/ HBH and JSL re: case status and 8.K. 20 $41.00
priorities

7/10/2019 Draft amended complaint S.K. 1.10 $225.50

7/10/2019 Updating damage calculations S.K. 80 $164.00

7/10/2019 Review letter from HBH to opposing counsel re. JL. 10 $21.50
demands and disputed issues.

7/10/2019 Review damage calculations S.K. 39 No Charge

F10/2019 Draft three page lengthy letter to opposing counsel, _H.B.H. 2.20 $880.00

citing argument and points of authority re issues
involved. Review and revise.

7/11/2019 Review multiple emails between HBH and opposing JL. 20 $43.00
counsel re. offers of settlement and attorneys' fees
and costs.

7f/LL/2019 Confer w/ HBH and JSL re: settlement offer from S.K. .10 No Charge
counsel

F/LL/2019 Confer w/ HBH and SEK re. settlement negotiations JL. 10 No Charge
with opposing counsel.

F/LL/2019 Review email from counsel re settlement offer S.K. 10 $20.50

7/26/2019 Review email from HBH to opposing counsel re. J.L. .10 $21.50
discovery, depositions, and a subpoena to ADP.

7/26/2019 Draft Subpoena Duces Tecum to ADP; review and H.B.H. 440 $1,760.00

revise. (1.2 hrs). Review and revise Interrogatories
from Plaintiffs to Victoria's Crab House, Inc. (.9
hrs). Substantial revisions to RPDs to Victoria's
Crab House, Inc. (2.3 hrs).

F292019 Review multiple email communications between LL. 20 $43.00
HBH and opposing counsel re. settlement offer.

7/29/2019 Draft Motion for Leave to Amend Complaint S.K. 1.70 No Charge

7/29/2019 Review multi comm from opposing counsel and H.B.H. 30 $120.00
respond re settlement demand and related issues.

7/30/2019 Review email from HBH to opposing counsel re. JL, LQ No Charge
settlement.

7/30/2019 Review (7) emails between counsel re: settlement S.K. 10 $20.50
offers

7/30/2019 Review and respond to comm from A. Turner re H.B.H. 20 $80.00
calculations and related issues.

7/31/2019 Confer w/ HBH re: Amended Complaint S.K. 20 No Charge

7/31/2019 Draft/Edit Amended Complaint S.K. 70 No Charge

7/31/2019 Review email from counsel re: consent to judgment S.K. 10 $20.50

7/31/2019 Confer w/ HBH re: consent to judgment S.K. 30 No Charge

 

 
Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 7 of 12

T31/2019 Confer with S. Kraff re amended complaint and H.B.H. 20 No Charge
claims.

7/31/2019 Draft comm to A. Turner re leave to file amended H.B.H. .10 $40.00
complaint; review response.

8/1/2019 Assist SEK in finalizing and filing of amended JL. 30 No Charge
complaint.

8/1/2019 Drafting Amended Complaint S.K. 2.40 No Charge

8/1/2019 Call w/ clients re: case status and amended S.K. 40 $82.00
complaint

8/1/2019 Tele conf with client re pay details, offer to consent H.B.H. 20 $80.00

to judgment, and amended complaint. (.2 hrs).
Multi conf with S. Kraff re amended complaint.

 

(NC).

8/2/2019 Review email from counsel re: settlement offer S.K.. 16 $20.50

8/5/2019 Review email from HBH to opposing counsel re. JL. 10 $21.50
filing of motion and settlement.

8/5/2019 Review and respond to comm from A. Turner H.B.H. 30 $120.00
complaining about amended complaint motion.

8/6/2019 Review email from counsel re: Mot. for Leave S.B. 10 $20.50

8/6/2019 Draft comm to A. Turner re settlement. H.B.H. 10 $40.00

8/6/2019 Confer w/ HBH re: Damage Calculations and S.K. 70 No Charge
settlement offer

8/7/2019 Review emails between HBH and ADP re. subpoena ss. 10 No Charge
for documents,

8/7/2019 Review and respond to comm from ADP re H.B.H. 10 $40.00
subpoena response.

8/8/2019 Confer w/ HBH and JSL re: damage calculations S.K. 30 $61.50

8/8/2019 Multi comm with A. Turner re demand; confer with H.B.H. 30 $120.00
S. Kraff re status of matter,

8/8/2019 Review email from counsel re: settlement offer S.K. 10 $20.50

8/14/2019 Review and respond to comm from client (Joe) re H.B.H. 10 $40.00
status of matter.

8/15/2019 Call w/ expert witness Kimel re: expert report S.K. 30 $61.50

8/15/2019 Review expert report prepared by Kimel S.K. .60 $123.00

8/16/2019 Review email from counsel re: consent to judgment S.K. .10 $20.50

8/16/2019 3 calls with expert witness Mike Kimel re: expert S.K. 70 $143.50
report

8/16/2019 Review and provide revisions to expert witness re: S.K. 2.70 $553.50
expert report

8/16/2019 Review final expert report from Mike Kime! S.K. 60 $123.00

8/19/2019 Review email from client re: case update and S.K. 30 $61.50
response to settlement offers

8/19/2019 Draft lengthy comm to clients re status of matter. H.B.H. 30 $120.00

8/26/2019 Draft comm to ADP paralegal re status of discovery. H.B.H. 10 $40.00

8/26/2019 Review expert report; conf with SK re damage H.B.H. 20 $80.00
calculations at 3x for Joe.

8/27/2019 Review case status; review status of discovery S.K. 20 $41.00
requests to Defendants.

8/27/2019 Confer w/HBH re: Defendants’ offer of consent S.K. 39 $61.50

judgment and contents of proposed consent
judgment order.

 
Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 8 of 12

8/27/2019 Draft Consent Judgment Proposed Order S.K. 1.20 No Charge

8/27/2019 Review emails between HBH and opposing counsel JL, .10 $21.50
re. consent judgment.

8/27/2019 Conf with assoc atty re consent judgment; review H.B.H. 20) $80.00

file materials re same. Review and revise consent
judgment. (NC). Review comm from S. Kraff to A,
Turner. Review response. Draft lengthy comm to
A. Turner re status of matter; review and revise. (.2
hrs).
8/28/2019 Review emails between HBH and opposing counsel JL. 10 $21.50
re, proposed consent judgment and Court
supervision being required in any FLSA settlement.

8/28/2019 Review 2 emails from counsel re: proposed order of S.K. 20 $41.00
consent judgment.

8/29/2019 Review documents produced by ADP in response to S.K. 60 $123.00
subpeona

8/29/2019 Review documents produced by ADP. (.2 hrs). H.B.H. 20 $80.00

8/30/2019 Review history of settlement negotiations for Mot. S.K. .60 $123.00
to Enforce Settlement

8/30/2019 Deaft email to clients re: case status update. S.K. 20 $41.00

8/30/2019 Draft Mot. to Enforce Settlement re: Defendants’ S.K. 3.80 No Charge
consent judgment

8/30/2019 Strategy conference with S, Kraff re Motion to H.B.H. .20 No Charge
Enforce Settlement; assign work re same.

9/3/2019 Draft email to client re: case status update S.K. 20 $41.00

9/3/2019 Review/Edit Motion to Enforce Settlement S.K. 50 $102.50

9/6/2019 Confer w/ HBH re: Motion to Enforce Settlement S.K. 30 No Charge

9/6/2019 Begin review of Motion to Enforce; confer with S. H.B.H. 1.60 $640.00
Kraff re same.

9/7/2019 Extensive revisions to Motion to Enforce H.B.H. 5.70 $2,280.00

Settlement; legal research re same. Review and
revise Motion to Enforce Settlement. Prepare
exhibits and file via ECF.

 

9/9/2019 Review motion to compel settlement. JL. 20 $43.00

9/9/2019 Review emails between HBH and opposing counsel JL. 10 $21.50
re. consent to judgment and settlement.

9/9/2019 Review two emails from Turner re: Motion to S.K. 10 $20.50
Enforce.

9/9/2019 Review filed Motion to Enforce Settlement and S.K. 10 $20.50
Exhibits.

9/9/2019 Review and respond with lengthy communications H.B.H. .80 $320.00
with opposing counsel re status of matter, including
settlement.

9/10/2019 Review email from opposing counsel re. settlement JL. 10 $21.50
of attorneys fees and consent to judgment.

9/10/2019 Review two emails from Turner re: Motion to S.K. 10 $20.50
enforce and settlement offers.

9/10/2019 Strategy Conference w/ HBH and JSL re: response S.K, .10 $20.50
from Turner on Motion to Enforce and next steps
forward.

9/10/2019 Review lengthy comm from counsel. Forward and H.B.H. 10 $40.00

 
Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 9 of 12

discuss same with assoc. attys.

9/16/2019 Review email from HBH to opposing counsel re. JL, 10 $21.50
lodestar statement and settlement offer.

9/16/2019 Review and organize billing records for Lodestar S.K. 30 $61.50
statement

9/16/2019 Draft lodestar statement. S.K. 20 $41.00

9/16/2019 Review emails between HBH and opposing counsel JL. 10 $21.50
re. failure to produce discovery responses.

9/16/2019 Review email from opposing counsel to HBH re. JL. 10 $21.50

consent to judgment and production of discovery,
potential sanctions motion.
9/16/2019 Review email from opposing counsel to HBH re. JL. .10 $21.50
motion to have judgment entered against Defs and
attorneys fees and costs.

9/16/2019 Review email from Turner re: consent judgment and S.K. 30 $61.50
accrual of attorneys’ fees + settlement offer.

9/16/2019 Review and revise lodestar statement; finalize. H.B.H. 10 $40.00

9/16/2019 Review and respond to multi comm from opposing H.B.H. 1.00 $400.00

counsel, ranging from settlement to atty fees and

 

related issues. (.8 brs). Tele conf with counsel re
settlement offer. (.2 hrs).

9/20/2019 Review email from HBH to clients re. settlement JL. 10 $21.50
offer and his suggestion re. same.

9/20/2019 Review email from HBH to opposing counsel re. JL. 10 $21.50
settlement offer and ethics threats.

9/20/2019 Call w/ Aaron Turner re: request for extension. S.K. .10 No Charge

9/20/2019 Review email from Turner re: settlement and request SK. 10 $20.50
for extension.

9/20/2019 Draft comm to clients re status of settlement efforts. H.B.H. 30 $120.00

9/20/2019 Draft comm to opposing counsel in response to H.B.H. 10 $40.00
ecomm.

9/23/2019 Review opposition to motion to enforce settlement J.L. 20 $43.00
agreement.

9/23/2019 Review Def Opp to Mot. to Enforce Settlement. S.K. 40 $82.00

9/23/2019 Call w/ Joe Cilione re: case update and settlement S.K. 20 $41.00
offer.

9/23/2019 Tele conf with client re status of matter and H.B.H. 10 $40.00
proposed settlement.

9/24/2019 Strategy Conference w/ HBH and SEK re settlement JL. 30 $64.50
negotiations and Opposition to Mot. to Enforce.

9/24/2019 Strategy Conference w/ SK and JL re: settlement H.B.H. 30 $120.00
negotiations and Opposition to Mot. to Enforce.

9/24/2019 Strategy Conference w/ HBH and JSL re: settlement S.K. 30 $61.50
negotiations and Opposition to Mot. to Enforce.

9/25/2019 Review emails between HBH and opposing counsel JL. 10 No Charge
re. settlement terms.

9/26/2019 Review email from opposing counsel to HBH re. JL. 10 $21.50
settlement terms and counteroffer.

9/26/2019 Review email from HBH to opposing counsel re. J.L. 10 $21.50
settlement.

9/26/2019 Review and respond to comm from A. Turner re H.B.H. 10 $40.00

 
Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 10 of 12

status of settlement demands.

9/27/2019 Review filed reply to opposition to motion to JL. 10 $21.50
enforcement settlement agreement.
9/27/2019 Review Opposition to Motion to Enforce. Confer H.B.H. 3.70 $1,480.00

with Assoc Attys re same. Legal research re
confessed judgment as an enforceable settlement.
Review cases. Draft Reply brief. Review and
revise, File same via ECF.

9/30/2019 Draft Mot. for Sanctions for Failure to Respond to S.K. 90 No Charge
Discovery Requests.

10/1/2019 Review communications from Court re. phone JL. 10 No Charge
conference with Judge Bennett.

10/1/2019 Phone confer w/ HBH, SEK, opposing counsel and J.L. AD $86.00

Judge Bennett re. motion to enforce settlement and
status of case.
10/1/2019 Strategy confer w/ HBH and SEK re. Judge EL. 80 $172.00
Bennett's orders re. consent judgment, strategy with
potential responses from opposing counsel.

10/1/2019 Conference Call w/ Judge Bennett and counsel re: S.K. AO $82.00
Mot. to enforce settlement.

10/1/2019 Strategy Conf. w/ HBH and JSL re: consent S.K. .80 $164.00
judgment and petition for attorneys’ fees.

10/1/2019 Review order from Judge Bennett re. motion to JL, 10 $21.50

enforce settlement, motion to amend, and schedule
for consent judgment.

10/1/2019 Strategy confer w/ HBH re. implications of JL. 50 $107.50
disputing liability language in consent judgment.
10/1/2019 Research on issue of disputing liability language's JL. 90 $193.50

impact on consent judgment/prevailing party for
purposes of attorneys’ fees and costs.

10/1/2019 Review email from opposing counsel re. filing JL. 10 $21.50
consent judgment.

10/1/2019 Review edits to consent judgment and Motion to S.K. 20 $41.00
enter consent judgment from Defendants.

10/1/2019 Review draft joint motion for entry of consent JL. 90 $193.50

judgment, substantially revise to add in analysis of
Judge's approval of proposed consent judgment
(0.7); draft email to opposing counsel re. same (0.2).

 

10/1/2019 Review comm from Joe Cilione re status of matter; H.B.H. AQ $40.00
draft response.

10/1/2019 Tele conf with the Court (Judge Bennett) and H.B.H. AQ $160.00
opposing counsel re status of case.

10/1/2019 Review Order of Court re denying pending motions H.B.H. 10 $40.00
as moot.

10/1/2019 Strategy conference re language disputing liability in H.B.H. 50 $200.00
consent judgment.

10/1/2019 Confer with SK re revisions to motion; review draft H.B.H. 20 No Charge
email.

10/2/2019 Review opposing counsel's email re. consent IL. 20 $43.00

judgment and edits to joint motion.
10/2/2019 Review email from HBH to opposing counsel re. JL. 10 $21.50

 
Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 11 of 12

10/2/2019

10/2/2019

10/2/2019

10/2/2019

10/2/2019

10/2/2019

10/2/2019
10/2/2019

10/2/2019

10/4/2019

10/4/2019

10/10/2019
10/10/2019
10/11/2019
10/11/2019
10/11/2019
10/15/2019
10/15/2019

10/15/2019
10/16/2019

10/16/2019

10/16/2019
10/16/2019
10/16/2019

10/16/2019
10/16/2019

consent judgment.

Review email from opposing counsel to HBH re.
consent judgment (0.1); review unilaterally filed
consent judgment (0.1)

Review email from HBH to opposing counsel re.
attorneys’ fees and costs.

Draft letter to Judge Bennett re. basis for position
that proposed consent judgment is complete and fair
relief.

Review, edit, finalize and file letter to Judge Bennett
re, explanation of basis that Plaintiffs are receiving
fuil and complete relief in consent judgment.
Review Mot. to Enter Consent Judgment from Def.
Review 4 emails from Turner re: edits to entry of
consent judgment,

Review Ltr to Court re: substantive legal issues.
Review multi lengthy comm from A. Turner re
status of case; respond with lengthy comms.

Conf with J. Liew re letter to Judge Bennett; offer
revisions re same.

Review entry of consent judgment. (.1 hrs).

Begin review of timesheets. (.3 hrs).

Review billing statements for billing
judgment/discretion purposes; draft comm to
opposing counsel re same.

Strategy Conference w/ HBH re: settlement offer for
Atty Fees.

Review email from HBH to opposing counsel re.
reduced attorneys’ fees demand.

Review email from opposing counsel re. attorneys
fees and costs.

Review email from Turner re: settlement offer.
Review emails between HBH and opposing counsel
re. settling fees and settlement agreement terms re.
same.

Draft settlement agreement for attorneys’ fees and
costs.

Review email from Turner re: settlement offer.
Draft joint motion for approval of settlement
agreement and proposed order.

Review emails between HBH and opposing counsel
re. extending deadline and tax approach for
settlement.

Review consent motion to extend deadline for filing
fee petition/settlement agreement.

Review email from Turner re: tax forms for
settlement.

Review email from Turner re: consent to MTE.
Review Cons. MTE.

Prepare Motion to Extend Time: prepare proposed
Order. Comm with counsel re same. File.

JL.

JL.

JL.

S.K.
S.K.

S.K

HBH.
HBH.
HB.

H.B.H.
H.B.H.

S.K.

JL.

J.L.

S.K.

JL.

J.L.

S.K.
JL.

JL.

JL.

S.K.

S.K.
S.K.

H.B.H.

20

10

90
20
10

.10

10
50

20
10
30
1.80
30
10
10
1G
10

1.60

10
1.20

10

10
10
10

.10
80

$43.00

$21.50

$193.50

$43.00

$20.50

$20.50

$20.50
$200.00

$80.00
$40.00
$120.00
$720.00
$61.50
$21.50
$21.50
$20.50
$21.50
$344.00

$20.50
$258.00

$21.50

$21.50
$20.50
$20.50

$20.50
$320.00

 

 

 
Case 1:19-cv-00627-RDB Document 30-3 Filed 10/23/19 Page 12 of 12

10/17/2019 Review and perform substantial revisions to H.B.H. 1.60 $640.00
agreement, joint motion and order. Confer with JL
ré same. Transmit to opposing counsel.

10/18/2019 Review Joint Mot to Appr. Settlement. S.K. 0 $82.00

10/21/2019 Phone call w/ Pi. James Cilione re. signing of tax JL. 10 $21.50
forms and settlement agreement.

10/21/2019 Review proposed edits to settlement agreement and —_-H..B.H. 80 $320.00

joint motion; multi comm and a tele conf with
opposing counsel. (.5 hrs). Draft multi comm with
clients re status of matter, attaching finalized
settlement agreement. (.3 hrs).

SUBTOTAL: 136.40 $27,154.00
Costs

9/28/2018 Postage ~ USPS to Victoria Emerson - Ltr regarding lawsuit. $3.92

2/27/2019 Filing Fee $400.00

3/7/2019 Postage - USPS to Beach Process Service - Service of Process. $2.20

4/1/2019 Process Server $120.00

7/26/2019 Postage - USPS to Aaron Tumer - Written Discovery $1.90

7/26/2019 Postage - USPS to ADP - Subpeona $12.75

8/16/2019 Postage - USPS to Aaron Turner - Expert Report $1.30

8/29/2019 Expert Witness Fee $640.06

9/9/2019 Postage - Priority Mail to Court for Judge's Copy of Motion to Enforce $6.95

Settlement.

SUBTOTAL: $1,189.02
Matter Ledgers

SUBTOTAL:

Trust Account

10/23/2019 Previous Balance $0.00
Available in Trust: $0.00
TOTAL $28,343.02

PREVIOUS BALANCE DUE $0.00

CURRENT BALANCE DUE AND OWING $28,343.02

 

 
